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The Employment Law Firm
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_____________________________________________________________________________________________________________________________________________________________


                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TROY BRANNING                                                           :
                                                                        :                    CIVIL ACTION – LAW
                                    Plaintiff                           :
                                                                        :                  JURY TRIAL DEMANDED
    ‐v‐                                                                 :
                                                                        :                 Judge Robert D. Mariani
WAYNE COUNTY, et al.                                                    :
                                                                        :
                                    Defendants                          :                         NO. 15‐1936

            A.          Summary Statement of Facts

      Plaintiff worked for Defendant Wayne County for nearly 14 years. On or
about July 2, 2015, Plaintiff was slapped in the face by Defendant Vicky Botjer,
for no reason. This act was witnessed by others. On a prior occasion, in or
around 2011, Defendant Botjer attempted to assault Plaintiff, which he
reported to the County Commissioners.

       On or about July 10, 2015, Plaintiff reported the physical assault to the
local police. Plaintiff also disclosed the official misconduct and abuse of power
of Defendant Botjer to the County Commissioners.

       Ever since reporting the official misconduct, abuse of power and
criminal behavior, Plaintiff was subjected to a campaign of harassment in
retaliation for engaging in free speech and petition. On or about July 13, 2015,
Defendant Martin started watching Plaintiff yet prior to that date he had never
engaged in such conduct. Defendant Martin would even peek through the
blinds to watch Plaintiff. This surveillance was constant and done solely in
retaliation for having blown the whistle on Botjer’s criminal and official
misconduct.



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      Besides the consistent surveillance, Plaintiff has been given uncommon
work, menial tasks and his work productivity sabotaged. Instead of doing
Plaintiff’s usual task duties of heating, plumbing, air conditioning and electric
problems, Plaintiff has been relinquished to painting piping and doing other
tasks that he never had to do, such as moving furniture that was infested with
bed bugs when normally other personnel would handle that task. Plaintiff was
assigned to paint pipes in the pouring rain, yet before engaging in free speech
he never was required to do the same. Defendants removed tools from
Plaintiff’s possession, so that he is not able to complete his tasks.

      Defendant Martin continued his harassment to such an extent it
occurred off the job. Defendant Martin stalked Plaintiff’s wife on Facebook
and her friends. Defendant Martin tried to “friend” Plaintiff’s wife and her
friends to obtain information about Plaintiff’s wife solely to harass Plaintiff.
Defendants have instructed Plaintiff’s co‐workers and others not to speak to
him.

      This lawsuit was filed on October 5, 2015. Plaintiff testified under oath
in the criminal matter on October 23, 2015. On November 5, 2015, less than
11 days after testifying under oath, Plaintiff was fired.


      B.    Legal Discussion

      First Amendment Retaliation

       “First Amendment’s protections against retaliation are broad: it
insulates public …. not just from retaliatory discharge or emotion, but also
“from even an act of retaliation as trivial as failing to hold a birthday party for
a public employee when intended to punish her for exercising her [First
Amendment] rights.” Rutan v. Republican Party of Ill., 497 U.S. 62, 75 n.8, 111
L.Ed.2d 52, 110 S. Ct. 2729 (1990). . “The reporting of a crime to police officers
‘constitutes an exercise of the First Amendment right to petition the
government for the redress of grievances.’ … When a crime victim reports that
crime to a police officer, … he is engaging in constitutionally protected
activity.” Ibarra v. City of Chicago, 816 F. Supp. 2d 541 (S.D. Ind. 2011). It is
well settled that the filing of a public lawsuit is a protected activity under First
Amendment. Sharif v. Manning, 2013 WL 3754818, at *12 (M.D. Pa. July 11,
2013).


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       “Sworn testimony in judicial proceedings is a quintessential example of
citizen speech for the simple reason that anyone who testifies in court bears
an obligation, to the court and society at large, to tell the truth. That obligation
is distinct and independent from any separate obligations a testifying public
employee might have to his employer.” Lane v. Franks, 134 S. Ct. 2369, 2373,
189 L. Ed. 2d 312 (2014). The citizen must show that the protected activity
‘was a substantial factor in the alleged retaliatory action.’” Mt. Healthy City Sch.
Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 287 (1977).

        Here, Plaintiff filed a police report, and almost immediately was
subjected to constant surveillance and ordered to do menial job tasks. After
testifying in the criminal matter, Plaintiff was fired in less than two weeks.
Consequently, Plaintiff will be able to establish a First Amendment Retaliation
claim.

        Battery

       “A battery is an act done with the intent to cause a harmful or offensive
contact with the body of another or an act done with the intent to put another
in reasonable and immediate fear of a harmful or offensive contact with his or
her body and that directly or indirectly results in the harmful or offensive
contact with the body of another.” Pennsylvania Jury Instruction, 17.20 –
Battery. Here, Defendant Botjer admitted she unwantedly touched Plaintiff’s
face. Consequently, Plaintiff will be able to show that a battery occurred.


      C.    Plaintiff’s Damages

      Plaintiff suffered wage loss and emotional distress since he was
terminated. Plaintiff seeks all damages allowable under Section 1983,
including but not limited to compensatory damages, back pay, front pay,
punitive damages, attorney fees, costs, and pre‐ and post‐judgment interest.
The Third Circuit does not require medical causation expert testimony for
emotional distress. Bolden v. Southeastern Pa. Transp. Auth., 21 F.3d 29 (3d Cir.
1994).
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                                    Respectfully Submitted,

                                    By: /s/ Cynthia L. Pollick
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                         CERTIFICATE OF SERVICE

      Cynthia L Pollick, Esquire, hereby certifies that on April 26, 2018, she

served a copy of Plaintiff’s Trial Brief by serving a copy via electronically on

Defendants:

      Mr. Michael J. Donohue, Esquire
      Dana M. Zlotucha, Esquire
      A. James Hailstone, Esquire
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                                            s/ Cynthia L. Pollick
                                            Cynthia L Pollick, Esquire




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